Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 1 of 18 PagelD 69

EXHIBIT A

 
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CLOSED

U.S. District Court

Middle District of Florida (Tampa)
CIVIL DOCKET FOR CASE #: 8:11-cv-02678-EAK-TBM

Rivera v. Laboratory Corporation of America
Assigned to: Judge Elizabeth A. Kovachevich
Referred to: Magistrate Judge Thomas B. McCoun III
Cause: 29:201 Denial of Overtime Compensation

Plaintiff

Debra Rivera
on her own behalf and others similary
situated,

V.
Defendant

Laboratory Corporation of America
a Delaware Corporation

doing business as

Labcorp

Date Filed: 12/02/2011

Date Terminated: 07/09/2012
Jury Demand: Plaintiff

Nature of Suit: 710 Labor: Fair
Standards

Jurisdiction: Federal Question

represented by Gregg I. Shavitz

Shavitz Law Group, PA

Suite 404

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Boca Raton, FL 33432
561/447-8888

Fax: 561/447-8831

Email: gshavitz@shavitzlaw.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Keith M. Stern

Shavitz Law Group, PA

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Boca Raton, FL 33432
561/447-8888

Fax: 561/447-8831

Email: kstern@shavitzlaw.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

represented by Dennis Michael McClelland

Phelps Dunbar, LLP

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100 S Ashley Dr

Tampa, FL 33602-5311

813/472-7550

Fax: 813/472-7570

Email: dennis.mcclelland@phelps.com
LEAD ATTORNEY

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Electyonic. Case-Filing { 18. District Court a Middle, Districs o€ Florida page 3 of 18 Pageleerz of 5

ATTORNEY TO BE NOTICED

Erin L. Malone

Phelps Dunbar, LLP

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Fax: (813) 472-7570

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Email: reed.russell@phelps.com

 

 

 

 

 

 

 

LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Defendant
Laboratory Corporation of America represented by Dennis Michael McClelland
Holdings (See above for address)
a Delaware Corporation LEAD ATTORNEY
doing business as ATTORNEY TO BE NOTICED
Labcorp
Date Filed # | Docket Text
12/02/2011 1 | COMPLAINT against Laboratory Corporation of America with Jury Demand
(Filing fee $ 350 receipt number TPA8590) filed by Debra Rivera.
(Attachments: # 1 Civil Cover Sheet)(DG) (Additional attachment(s) added on
12/5/2011: # 2 Main Document) (JNB). (Entered: 12/05/2011)
12/02/2011 2 | Summons issued as to Laboratory Corporation of America. (DG) (Entered:
12/05/2011)
12/16/2011 3 | RETURN of service executed on 12/12/2011 by Debra Rivera as to Laboratory
Corporation of America. (Stern, Keith) (Entered: 12/16/2011)
12/22/2011 4 | NOTICE of designation under Local Rule 3.05 - track 2 (AO) (Entered:
12/22/2011)
01/03/2012 5 | ANSWER and affirmative defenses to 1 Complaint by Laboratory Corporation
of America.(McClelland, Dennis) (Entered: 01/03/2012)
01/03/2012 6 | Corporate Disclosure Statement by Laboratory Corporation of America.

 

 

 

 

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(McClelland, Dennis) (Entered: 01/03/2012)

 

01/05/2012

Im

ORDER OF RECUSAL. Judge James D. Whittemore recused. Case reassigned
to Judge Elizabeth A. Kovachevich for all further proceedings. New case #
8:11-cv-2678-T-17TBM. Signed by Judge James D. Whittemore on 1/4/2012.
(JNB) (Entered: 01/05/2012)

 

01/05/2012

loo

STANDING ORDER: Filing of documents that exceed twenty-five pages.
Signed by Judge Elizabeth A. Kovachevich on 1/5/2012. (JNB) (Entered:
01/05/2012)

 

01/17/2012

ho

NOTICE of Consent to Join by Debra Rivera on behalf of Opt-in Plaintiff
Latasha McCurdy (Stern, Keith) (Entered: 01/17/2012)

 

01/20/2012

CASE MANAGEMENT REPORT. (McClelland, Dennis) (Entered:
01/20/2012)

 

02/02/2012

CASE MANAGEMENT AND SCHEDULING ORDER: Amended Pleadings
due by 5/15/2012, Joinder of Parties due by 5/15/2012, Discovery due by
1/15/2013, Dispositive motions due by 2/15/2013, Plaintiff disclosure of expert
report due by 6/30/2012, Defendant disclosure of expert report due by
8/14/2012 Final Pretrial Conference set for 7/11/2013 at 11:00 AM in Tampa
Courtroom 12 B before Magistrate Judge Thomas B. McCoun III. Jury Trial set
for 8/5/2013 at 10:00 AM in Tampa Courtroom 14 A before Judge Elizabeth A.
Kovachevich. Conduct mediation hearing by 1/15/2012. Lead counsel to
coordinate dates. This is a jury trial which is expected to take 3 to 5 days to try.
Signed by Judge Elizabeth A. Kovachevich on 2/2/2012. (SN) (Entered:
02/02/2012)

 

02/07/2012

12

AMENDED ORDER amending re 11 Case management and scheduling order
to correct the date for completion of mediation to 1/15/13. Signed by Judge
Elizabeth A. Kovachevich on 2/7/2012. (SN) (Entered: 02/07/2012)

 

02/14/2012

PRETRIAL ORDER: Pretrial Conference set for 7/11/2013 at 11:00 AM in
Tampa Courtroom 12 B before Magistrate Judge Thomas B. McCoun III, Jury
Trial set for a trial term tentatively commencing 8/5/2013 at 10:00 AM in
Tampa Courtroom 14 A before Judge Elizabeth A. Kovachevich. Trial
estimate: 3-5 days jury trial. Signed by Judge Elizabeth A. Kovachevich on
2/14/2012. (Attachments: # 1 Supplement)(CLM) (Entered: 02/14/2012)

 

02/29/2012

MOTION for leave to file Amended Complaint by Debra Rivera. (Attachments:
# 1 Exhibit)(Stern, Keith) (Entered: 02/29/2012)

 

02/29/2012

NOTICE by Laboratory Corporation of America re 14 MOTION for leave to
file Amended Complaint of Non-Opposition (Russell, Reed) (Entered:
02/29/2012)

 

03/01/2012

16

ENDORSED ORDER granting 14 Motion for leave to file an amended
complaint. The amended complaint shall be filed by the plaintiff within 5 days
of this date. Signed by Judge Elizabeth A. Kovachevich on 3/1/2012. (SN)
(Entered: 03/01/2012)

 

03/01/2012

 

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AMENDED COMPLAINT against Laboratory Corporation of America,
Laboratory Corporation of America Holdings with Jury Demand filed by Debra

 

5/13/2014
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Rivera.(Stern, Keith) (Entered: 03/01/2012)

 

03/01/2012

*DOCUMENT TERMINATED. COUNSEL NOTIFIED TO SUBMIT
SUMMONS IN PAPER FORMAT FOR ISSUANCE.* NOTICE by Debra
Rivera re 17 Amended complaint of Filing Summons as To Defendant,
Laboratory Corporation of America Holdings d/b/a Labcorp (Attachments: # 1
Summons)(Stern, Keith) Modified on 3/2/2012 (CD). (Entered: 03/01/2012)

 

03/05/2012

NOTICE of Withdrawal of Consent to Join of Opt-In Plaintiff, Latasha
McCurdy by Debra Rivera re 9 Notice of Consent to Join (Stern, Keith)
Modified on 3/5/2012 (BES). (Entered: 03/05/2012)

 

03/05/2012

Summons issued as to Laboratory Corporation of America Holdings. (EJC)
(Entered: 03/05/2012)

 

03/19/2012

ANSWER to 17 Amended complaint and Defenses by Laboratory Corporation
of America, Laboratory Corporation of America Holdings.(McClelland,
Dennis) (Entered: 03/19/2012)

 

04/02/2012

NOTICE OF SELECTION of Mary A. Lau as mediator by Debra Rivera,
Laboratory Corporation of America, Laboratory Corporation of America
Holdings re 11 Case management and scheduling order (Stern, Keith) Modified
text (wrong event code used) on 4/3/2012 (RFK). (Entered: 04/02/2012)

 

07/02/2012

Joint MOTION for leave to file /submit Settlement Agreement to the Court for
In Camera Review by Laboratory Corporation of America Holdings, Debra
Rivera. (Attachments: # 1 Composite Exhibit A)(McClelland, Dennis)
(Entered: 07/02/2012)

 

07/02/2012

Joint MOTION to Approve Settlement Agreement, Joint MOTION to dismiss
Plaintiff's Complaint and for Entry of an Order of Dismissal by Laboratory
Corporation of America Holdings, Debra Rivera. (McClelland, Dennis)
(Entered: 07/02/2012)

 

07/03/2012

25

ENDORSED ORDER granting 23 Motion that the Court review the settlement
agreement entered into by the Parties in this action in camera so that it can
remain confidential without becoming a public record in the court file. The
settlement agreement shall be provided to the chambers within 5 days of this
date and shall include a return envelope. The Court will review and thereafter
resolve the motion to approve settlement. Signed by Judge Elizabeth A.
Kovachevich on 7/3/2012. (SN) (Entered: 07/03/2012)

 

07/09/2012

 

 

ORDER granting 24 Motion to Approve Settlement; granting 24 Motion to
dismiss. The Clerk of Court is directed to close this case and to terminate any
pending motions. Signed by Judge Elizabeth A. Kovachevich on 7/9/2012. (SN)
(Entered: 07/09/2012)

 

 

 

 

 

 

 

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Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 7 of 18 PagelD 75
Case 8:11-cv-02653-TGW Document 24 Filed 04/02/12 Page 1 of 1 PagelD 116

Case 8:11-cv-02653-TGW Document 22-2 Filed 03/30/12 Page 2 of 2 PagelD 104

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DARREL K. JACKSON, on his own
behalf and others similarly situated,

Plaintiff,
Vv. CASE NO.: 8:11 -CV-02653-TGW
LINCARE, INC.,

Defendant.

i

ORDER

 

THIS CAUSE came before the Court upon the Parties’ “Joint Motion to Submit
Settlement Agreement to the Court for Jn Camera Review.” The Court has examined the
motion and finds the Parties’ request to be appropriate in this action and consistent with
Federal Rule of Civil Procedure 1 and, therefore, it is

ORDERED and ADJUDGED that the Parties may submit their settlement agreement
to the Court for in camera review. The settlement agreement is confidential and shall remain
confidential for the time necessary for the Court to review the terms of the Parties’ settlement
in conjunction with the Parties’ “Joint Motion for Approval of Settlement Agreement and
Entry of an Order of Dismissal” and, thereafter, shall be returned by the Court to counsel for
Defendant, without filing.

DONE AND ORDERED in Chambers at Tampa, Florida, this aay of ~P—9

2012. y 2 Vir.

Thomas G. Wilson
United States Magistrate Judge

 

Copies to: Counsel of Record

PD.6111308.2

 
Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 8 of 18 PagelD 76
Case 8:11-cv-00798-EAK-MAP Document 23 Filed 12/20/11 Page 1 of 2 PagelD 98

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO. 8:11-CV-00798-KOVACHEVICH/PIZZO

 

GUENY ROJAS,
Plaintiff,
v.
MK AUTOMOTIVE, INC.
Defendant. ;
ORDER

This matter came before the Court upon the Parties’ “Joint Motion to Submit Settlement
Agreement to the Court for Jn Camera Review.” The Court has examined the motion and finds
the Parties’ request to be appropriate in this action and consistent with Federal Rule of Civil
Procedure | and the principals of the Fair Labor Standards Act as articulated in Lynn’s Food
Stores , Ine. v. United States, 679 F.2d 1350, 1353 (1th Cir. 1982), and, therefore, it is

ORDERED AND ADJUDGED that the Parties may submit their settlement agreement
to the Court for in camera review. The settlement agreement is confidential and shall remain
confidential for the time necessary for the Court to review the terms of the Parties’ settlement in
conjunction with the Parties’ “Joint Motion and Memorandum of Law Requesting Approval of
Settlement Agreement and Entry of an Order of Dismissal” and, thereafter, shall be returned by

the Court to counsel for Defendant, without filing.

PD.5363145,1
Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 9 of 18 PagelD 77
Case 8:11-cv-00798-EAK-MAP Document 23 Filed 12/20/11 Page 2 of 2 PagelD 99

DONE AND ORDERED in Chambers at Tampa, Florida, this ay of Dee,

Cg ik :

Elizabeth A~Kevachevich —
United States District Judge

2011.

 

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Copies to: Counsel of Record

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Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 10 of 18 PageID 78
Case 8:11-cv-00244-SCB-TBM Document17 Filed 06/08/11 Page 1 of 1 PagelD 72

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

SHERRY BRUNE,

Plaintiff,
Vv. Case No. 8:11-cv-244-T-24 TBM
JPL ADVISORS, INC. and
JAMES P. LEAVY,

Defendants.

/
ORDER

This cause comes before the Court on the parties’ Joint Motion to Submit Settlement
Agreement to the Court for In Camera Review. (Doc. No. 15). Upon consideration, the Court
GRANTS the motion to the extent that the parties are directed to email a copy of the settlement
agreement to the Chamber’s email account, Chambers_FLMD_Bucklew@flmd.uscourts.gov, by
June 17, 2011. The Court will review the emailed copy of the settlement agreement without
filing it on the public docket.

DONE AND ORDERED at Tampa, Florida, this 8" day of June, 2011.

SC Buckle)
SUSAN C. BUCKLEW
United States District Judge

Copies to:
Counsel of Record
Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 11 of 18 PagelD 79
Case 8:09-cv-01003-RAL-MAP Document 19 Filed 07/09/10 Page 1 of 2 PagelD 78

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

JUAN DOIMEADIOS, on behalf of,
himself and those similarly situated,

Plaintiff,
CASE NO.: 8:09-CV-1003-T-26MAP

vs,

JASON’S HAULING INC., a Florida
corporation, and JASON FREYRE,
Individually,

Defendants.

ORDER

 

This matter came before the Court upon the Parties’ “Joint Motion to Submit
Settlement Agreements to the Court for In Camera Review.” The Court has examined the
motion and finds the Parties’ request to be appropriate in this action and consistent with
Federal Rule of Civil Procedure | and, therefore, it is

ORDERED AND ADJUDGED that the Parties may submit their settlement
agreements to the Court for i camera review. The settlement agreements are confidential
and shall remain confidential for the time necessary for the Court to review the terms of the
Parties’ settlement in conjunction with the Parties’ “Joint Motion and Memorandum of Law
Requesting Approval of Settlement Agreements and Entry of an Order of Dismissal” and,

thereafter, shall be returned by the Court to counsel for Defendants, without filing.

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Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 12 of 18 PagelD 80
Case 8:09-cv-01003-RAL-MAP Document 19 Filed 07/09/10 Page 2 of 2 PagelD 79

DONE AND ORDERED this A day of 0} oe , 2010 in Chambers in

Hillsborough County, Florida.
ZA oo

THE HONORABLE RICHARD A. LAZARRA
UNITED STATES DISTRICT JUDGE

ec: Counsel of record

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CLOSED

U.S. District Court
Middle District of Florida (Tampa)
CIVIL DOCKET FOR CASE #: 8:09-cv-02446-JSM-MAP

Frost v. Quality Metal Fabricators, Inc. et al

Assigned to: Judge James S. Moody, Jr

Referred to: Magistrate Judge Mark A. Pizzo

Cause: 29:201 Fair Labor Standards Act

Plaintiff

Clavis Frost

Vv.
Defendant

Quality Metal Fabricators, Inc.
a Florida corporation

Date Filed: 12/02/2009

Date Terminated: 03/17/2010
Jury Demand: Plaintiff

Nature of Suit: 710 Labor: Fair
Standards

Jurisdiction: Federal Question

represented by C. Ryan Morgan

Morgan & Morgan, PA

20 N Orange Ave - Ste 1600

PO Box 4979

Orlando, FL 32801

407/420-1414

Fax: 407/245-3401

Email: rmorgan@forthepeople.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

represented by Jason A. Pill

Phelps Dunbar, LLP

Suite 1900

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Tampa, FL 33602-5315
813/222-7664

Fax: 813/472-7570

Email: jason.pill@phelps.com
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ATTORNEY TO BE NOTICED

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Phelps Dunbar, LLP

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Tampa, FL 33602-5315
813/472-7550

Fax: 813/472-7570

Email: john.phillips@phelps.com
LEAD ATTORNEY

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ATTORNEY TO BE NOTICED
Defendant
Earl Roberts represented by Jason A. Pill
individually (See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

John E. Phillips , Jr.

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

 

Date Filed # | Docket Text
12/02/2009

 

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COMPLAINT against Quality Metal Fabricators, Inc., Earl Roberts with Jury
Demand (Filing fee $350 receipt number T052978) filed by Clavis Frost.
(Attachments: # 1 Civil Cover Sheet)(CH) (Entered: 12/02/2009)

NOTICE of Consent to Join by Clavis Frost re 1 Complaint (CH) (Entered:
12/02/2009)

WAIVER OF SERVICE returned executed on 12/1/09 by Clavis Frost as to
Quality Metal Fabricators, Inc., Earl Roberts. (Attachments: # 1 Exhibit Ex A)
(Morgan, C.) (Entered: 01/15/2010)

NOTICE of Appearance by John E. Phillips, Jr on behalf of Quality Metal
Fabricators, Inc., Earl Roberts (Phillips, John) (Entered: 01/28/2010)

ANSWER and affirmative defenses to | Complaint by Quality Metal
Fabricators, Inc., Earl Roberts.(Phillips, John) (Entered: 02/01/2010)

FLSA SCHEDULING ORDER. Plaintiff shall answer the Court's
interrogatories within 15 days. Signed by Judge James S. Moody, Jr on
2/8/2010. (Attachments: # 1 Magistrate Judge Consent form)(LN) (Entered:
02/08/2010)

ANSWER to court interrogatories re: 6 FLSA scheduling order by Clavis Frost.
(Attachments: # 1 Exhibit Ex A)(Morgan, C.) (Entered: 02/15/2010)

NOTICE of Appearance by Jason A. Pill on behalf of Quality Metal
Fabricators, Inc., Earl Roberts (Pill, Jason) (Entered: 03/02/2010)

 

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03/02/2010

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Unopposed MOTION for extension of time to file document Defendants'
Verified Summary of Hours Worked by Plaintiff by Quality Metal Fabricators,
Inc., Earl Roberts. (Phillips, John) (Entered: 03/02/2010)

03/03/2010 10 | ENDORSED ORDER granting 9 Defendants’ Motion for extension of time to
file Verified Summary. Extension granted through March 9, 2010. Signed by
Judge James S. Moody, Jr on 3/3/2010. (LN) (Entered: 03/03/2010)

03/09/2010 li | NOTICE of Settlement by Quality Metal Fabricators, Inc., Earl Roberts
(Phillips, John) (Entered: 03/09/2010)

 

 

 

 

 

 

 

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03/17/2010 12 |60-DAY ORDER OF DISMISSAL: No party (or their counsel) shall make any
payment of fees or costs without prior authorization or approval from this
Court. All pending motions, if any, are DENIED as moot. The Clerk is directed
to close the file. Signed by Judge James S. Moody, Jr on 3/17/2010. (LN)
(Entered: 03/17/2010)

03/25/2010 13 | Joint MOTION for miscellaneous relief, specifically to Submit Settlement
Agreement to the Court for In Camera Review by Clavis Frost, Quality Metal
Fabricators, Inc., Earl Roberts. (Attachments: # 1 Exhibit A - Order Regarding
FLSA Settlement, # 2 Exhibit B - Text of Proposed Order)(Pill, Jason)
(Entered: 03/25/2010)

03/25/2010 14 | Joint MOTION to Approve Settlement Agreement and Enter an Order of
Dismissal by Clavis Frost, Quality Metal Fabricators, Inc., Earl Roberts.
(Attachments: # 1 Exhibit A - Text of Proposed Order)(Pill, Jason) (Entered:
03/25/2010)

03/26/2010 15 | ENDORSED ORDER granting 13 Joint Motion to Submit Settlement
Agreement to the Court for In Camera Review. Signed by Judge James S.
Moody, Jr on 3/26/2010. (LN) (Entered: 03/26/2010)

03/31/2010 16 | ENDORSED ORDER granting 14 Joint Motion to Approve Settlement
Agreement. This case is dismissed with prejudice, with each party to bear their

own fees and costs, except as set forth in the Settlement Agreement. Signed by
Judge James S. Moody, Jr on 3/31/2010. (LN) (Entered: 03/31/2010)

 

 

 

 

 

 

 

 

 

 

 

 

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Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 16 of 18 PagelD 84
Case 1:11-cv-20954-RNS Document 35 Entered on FLSD Docket 04/10/2012 Page iof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 11-20954-Civ-SCOLA
DEOWANTI SINGH,

Plaintiff,
vs.

H&R BLOCK EASTERN ENTERPRISES,

Defendant.
/

ORDER GRANTING MOTION TO SUBMIT SETTLEMENT
AGREEMENT TO THE COURT FOR IN CAMERA REVIEW

THIS MATTER is before the Court on the parties’ Joint Motion to submit Settlement

 

Agreement to the Court for In Camera Review (ECF No. 32.) Having considered the motion, the
record, and the relevant legal authorities, it is ORDERED that the Motion is GRANTED. On or
before April 17, 2012, the Plaintiff shall submit a copy of the settlement agreement reached in this
matter to the Court for review.’ See Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,
1352-55 (11th Cir. 1982) (holding that in an action brought pursuant to the Fair Labor Standards
Act, the court must scrutinize the settlement agreement for fairness). The parties may submit the
proposed settlement agreement to the Court for in camera review via U.S. Mail, e-mail
(scola@fisd.uscourts.gov), or hand-delivery. The Clerk shall administratively close this case
pending the Court’s review of the proposed settlement agreement. Any and all pending motions are
denied as moot.

DONE and ORDERED in chambers, at Miami, Florida, on April 10, 2012.

   
     

nd

ROBERT N. SCOLA, JR.
UNITED STATES DISTRICT JUDGE
Copies to:

Counsel of record

 

' The Plaintiff may also submit additional materials to aid the Court in evaluating the fairness of
the settlement agreement, including detailed time records of Plaintiff’s counsel and a detailed
invoice of fees and costs incurred in this matter.
Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 17 of 18 PagelD 85
Case 1:10-cv-23647-UU Document 30 Entered on FLSD Docket 06/17/2011 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case No. 10-23647-CIV-UNGARO
ANTONIO FRANCO, et al.,
Plaintiffs,
Vv.

LATIN AMERICAN BAYSIDE, INC.,

Defendant.

 

ORDER OF DISMISSAL

 

THIS CAUSE is before the Court upon the parties’ Joint Motion to Approve Confidential
Settlement and to Dismiss With Prejudice. (D.E. 28.)

THE COURT has considered the stipulation, the pertinent portions of the record, the
Settlement Agreement (in camera via facsimile) and is otherwise fully advised in the premises.
It is

ORDERED AND ADJUDGED that the Motion (D.E. 28) is GRANTED. The Settlement
Agreements are APPROVED and the case is DISMISSED WITH PREJUDICE. It is further

ORDERED AND ADJUDGED that the Clerk of Courts SHALL administratively close
this case.

DONE AND ORDERED in Chambers at Miami, Florida, this 17th day of June, 2010.

 

URSULA UNGARO

UNITED STATES DISTRICT JUDGE
copies provided:
counsel of record
Case 6:13-cv-01395-DAB Document 13-1 Filed 05/13/14 Page 18 of 18 PagelD 86
Case 0:10-cv-61947-JIC Document 25 Entered on FLSD Docket 02/24/2011 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO.: 10-CV-61947-COHN/SELTZER
O’NEIL GRAHAM,
Plaintiff,

vs.

FLEXTRONICS AMERICA, LLC,
a Foreign Limited Liability Corporation,

Defendant.
/

 

FINAL ORDER OF DISMISSAL

 

THIS CAUSE is before the Court upon the parties’ Joint Motion for in Camera
Review of Settlement Agreement, Motion to Approve Settlement Agreement and to
Dismiss Lawsuit with Prejudice [DE 24] (“Joint Motion’). The Court has carefully
reviewed the Joint Motion, the Settlement Agreement, and is otherwise fully advised in
the premises.

The Court finds that the terms of the Settlement Agreements are fair and
reasonable and meet the standard set forth in Lynn’s Food Stores, Inc. v. United
States, 679 F.2d 1350 (11th Cir. 1982). Accordingly, it is

ORDERED AND ADJUDGED that the Joint Motion for in Camera Review of
Settlement Agreement, Motion to Approve Settlement Agreement and to Dismiss
Lawsuit with Prejudice [DE 24] GRANTED;

1. The parties’ Settlement Agreement is APPROVED;

2. The above-styled case is hereby DISMISSED WITH PREJUDICE;

3. The Clerk of the Court shall CLOSE THIS CASE and DENY all pending
motions as moot.

4. The Court will retain jurisdiction to enforce the terms of any settlement
agreement entered into in connection with this matter.

DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

Florida, this 24th day of February, 2011.

JAMES 1. COHN J
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